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Pro Se 12016

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

18-CV-01170€C

Ro,qer Lamar Williams II CASE NO.
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COMPLAINT FOR A CIVIL CASE

9

Jury Trial: E Yes [| No
Plaintiff(S),

V.

Citv of Seattle, O. Martin, R. Behn _....._.__F|LED ____ENTERED
______ LODGED ____RECE|VED

AUG 09 2018 cA

Kimberlv Sharkev, William C

 

Schwarz, Kallie Fer,<zuson ,
AT SEATTLE
CLERK U.S. D|STFHCT COURT
WESTERN D|STR|CT GF WASH|NGTON
Defendant(s). BY DEP

 

 

I. THE PARTIES TO THIS COMPLAINT
A. Plaintiff(s) y

Provide the information below for each plaintiff named in the complaint Attach
additional pages if needed

 

 

Name Roger Lamar Williams 11
Street Address 10885 Dixon Drive S
City and County Seattle King County

 

State and Zip Code WA 98178

Telephone Number (206) 775-0351

 

COMPLAINT FOR A CIVIL CASE - 1

 

 

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B. " Defendant(s)

Defendant No. 1

 

 

 

 

 

Name City of Seattle

Job or Title (l'fknown)

Street Address 600 4th Avenue

City and County Seattle King County
State and Zip Code WA 98104
Telephone Number

 

Defendant No. 2

 

 

 

 

 

Name Q. Martin

Job or Title (z`fknown) SPD Offlcer (#7696)
Street Address 610 5th Avenue

City and County Seattle King County
State and Zip Code Washington 98104
Telephone Number 206-625-501 1

 

Defendant No. 3

 

 

 

 

 

Name R. Behn

Job or Title (ifknown) SPD Offlcer (#7717)
Street Address 610 5th Avenue

City and County Seattle King County
State and Zip Code Washington 98104
Telephone Number 206-625-501 1

 

COMPLAINT FOR A CIVIL CASE - 2

 

 

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Defendant No. 4

Name

Job or Title (ifknown)
Street Address

City and County

State and Zip Code
Telephone Number

Defendant No. 5

Name

Job or Title (z'fknown)
Street Address

City and County

State and Zip Code
Telephone Number

Defendant No. 6

Name

Job or Title (ifknown)
Street Address

City and County

State and Zip Code
Telephone Number

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Kimberly Sharkey

 

Public Defender - TDA

 

810 3rd Ave, Ste. 800

 

Seattle, King County

 

Washington 98 104

 

206-477-8700

 

Williarn C. Schwarz

 

Public Defender - Northwest Public Defense

 

1109 First Avenue, Suite 300

 

Seattle, King County

 

Washington 98101

 

206-674-4700

 

Kallie Ferguson

 

Public Defender - TDA

 

1109 First Ave Suite 300

 

Seattle, King County

 

Washington 98 1 01

 

206-477-8475

 

II. BASIS FOR JURISDICTION

Federal courts are courts of limited jurisdiction (limited power). Generally, only two

types of cases can be heard in federal court2 cases involving a federal question and cases

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involving diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising under
the United States Constitution or federal laws or treaties is a federal question case. Under 28
U.S.C. § 1332, a case in which a citizen of one State sues a citizen of another State or nation and
the amount at stake is more than $75,000 is a diversity of citizenship case. In a diversity of
citizenship case, no defendant may be a citizen of the same State as any plaintiff

What is the basis for federal court jurisdiction? (check all that apply)

Federal question [l Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States
Constitution that are at issue in this case.

42 U.S.C. § 1983 - Deprivation of any rights, privileges, or immunities secured, or

immunities secured by the Consititution and federal laws

1. The Amount in Controversy.
The amount in controversy-the amount the plaintiff claims the defendant owes or the
amount at stake-is more than $75,000, not counting interest and costs of court, because (explain):

$80,000.00 Civil Rights claim

III. STATEMENT OF CLAIM
On March 29, 2016, 1 was stopped by SPD Officer Behn in the city of Seattle for driving
under the influence I do not have any other driving under the influence charges or allegations in
my lifetime On that date, I was taken into the Seattle Police station and consented to a breath

test. However, the readings were not coming out as the officers had expected and they did not

COMPLAINT FOR A CIVIL CASE - 4

 

 

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record the numbers the machine was registering for the second sample as indicated in the police
report it was recorded as an invalid sample and mistakenly marked off that 1 refused. 1 did
provide a second sample as shown on the recording. The officer incorrectly marked the DU1
report as a refusal. Officer Behn never tried to give me a sobriety test.

Due to the “invalid samples,” 1 was taken to Harborview for further testing. There was
no paperwork filled out at this time as there should have been. lt was filled out later after 1 was
taken home. The doctors did not sign the paperwork and SPD signed in their stead. There are
wrong dates on the paperwork.‘ There was no paperwork given to me to sign. The officers just
wrote down that 1 Was handcuffed After giving a blood sample, 1 was taken to my home.

My paperwork was not completed correctly and 1 did not receive copies of my paperwork
that 1 should have been released with until a week before trial after being incarcerated
Charges were filed on March 31, 2016. 1 never received a ticket with a court date. The officer
completed the ticket later, putting an incorrect date of March 3, 2016 on the citation ticket for the
DUI. As such, 1 missed the hearing and a $15,000 warrant was issued for my arrest for my arrest
on a first time DUI charge because the judge thought that 1 must have had 2 DUI arrests within 9
days when in fact, there hadn’t been a hearing yet on my first charge.

On April 9, 2016, the police saw me at the park and arrested me on the warrant from the
missed court date that 1 was unaware of. 1 was booked into jail with a $15,000 warrant 1 am
indigent and was unable to post that amount, leaving me stranded in jail until June 2, 2016. The
judge issued this warrant because he thought 1 may have received two DUIs in a short time
period due to Officer Behn writing the wrong date on the citation.

Evidence was not provided in my case during discovery in a timely manner. While 1 was
in jail, they found the video and provided it about mid to end of May but Were still looking for

more evidence against me at that time. They ran out of time to bring the blood sample in as

COMPLAINT FOR A CIVIL CASE - 5

 

 

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evidence The blood sample was not mine as it did not have any of my prescription medications
in the toxicology report. 1 believe they forged the nurses signature 1 never signed the receipt 1
never received a receipt of the blood sample until a week before trial as my 60 days were almost
up.

Before being arrested, 1 properly requested a hearing with the Department of Licensing to
address my license suspension. 1 was granted a hearing date However, when 1 was taken into
custody 1 missed my hearing date, causing a default judgment to be entered against me even
though it was clearly not a refusal. 1 also missed my deadlines to appeal or ask for a motion to
reconsider for my license because 1 was still being held in-custody.

Ultimately, my charge was reduced to reckless endangerment and 1 entered into a plea on
August 16,2016. On that date, Judge Donohue issued an agreed order declaring that my DUI
was never supposed to be a refusal and the refusal box was checked in error. However, DOL has
refused to give me a new hearing or consider any of the evidence Officer Behn has also refused
to correct any paperwork.

Because Off`icer Behn did not give me a court date immediately, 1 missed my hearing
date, causing a warrant to be issued and causing me to be held in jail for 59 days on my first time
DUI charge Proper procedures for were not followed while obtaining my breathalyzer and blood
sample 1 set this case for trial, but the City of Seattle did not provide all of the evidence in my
case until a week before trial. Sentencing guidelines for a first time offense were not followed
and 1 ended up spending more time in jail than 1 would have if 1 had been convicted of a DUI. I
had 3 different public defenders and saw 3 judges and believe my civil rights were violated.

1 also lost my license and my ability to correct my license suspension because of Off`icer
Behn’s mistakes Officer Behn’s mistakes caused me to lose my job, prevented me from seeing

my kids on a regular basis, and severely restricted my ability to get around and take care of daily

COMPLAINT FOR A CIVIL CASE - 6

 

 

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business 1 am disabled and unable to walk far distances and my vehicle is very important in
being able to get to doctors’ appointments, the grocery store, and other necessary appointments
Being disabled and on disability, 1 am also unable to afford the extra SR-22 insurance or retake
the driver’s test to get my license back. While in jail, 1 was also not receiving proper pain

medication, which caused great physical pain, all of this stemming from the City’s errors.

IV. RELIEF

1 am seeking damages both actual and punitive for the violation of my civil rights. 1 was
denied my freedom. 1 lost my part time job which 1 could earn $500 to $600 per month, 1 owe
Social Security an overpayment of $993.61. 1 lost my drivers license and can not afford the
increased car insurance required due to defendant’s actions. 1 was not given proper pain
medication in jail. Being a chronic pain patient, it has caused me a lot of undue burdens and pain
and suffering

V. CERTIFICATION AND CL()SING

Under Federal Rule of Civil Procedure 11, by signing below, 1 certify to the best of my
knowledge information, and belief that this complaint (1) is not being presented for an improper
purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation;
(2) is supported by existing law or by a nonfrivolous argument for extending, modifying, or
reversing existing law; (3) the factual contentions have evidentiary support or, if specifically so
identified, will likely have evidentiary support after a reasonable opportunity for further
investigation or discovery; and (4) the complaint otherwise complies with the requirements of

Rule 11.

COMPLAINT FOR A CIVIL CASE - 7

 

 

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1 agree to provide the Clerk's Office with any changes to my address where case-related
papers may be served. 1 understand that my failure to keep a current address on file with the

Clerk's Office may result in the dismissal of my case
Date of signing: <07/7 / /y
Signature of Plaintiff ha /£ MM°;~

Printed Name of Plaintiff p0 G/-`-’,K L 4/); ii }1‘771 <./4£_

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